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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF VIRGINIA
                                         NEWPORT NEWS DIVISION

      JAMESINA CRAWFORD, et al.,

                   Plaintiffs,

      vs.
                                                            Case No. 4:14-cv-00130–AWA-LRL
      NEWPORT NEWS
      INDUSTRIAL CORPORATION

                   Defendant.

            STATUS REPORT OF THE PARTIES PURSUANT TO DOCKET ENTRY 357

             Pursuant to the Court’s Order of March 15, 2019 requiring the filing of a status report, to

  include whether the case should now be set for trial (DE 357), the parties are requesting the

  Court refer this matter to Magistrate Judge Leonard for a settlement conference. The parties

  expect that a full day will be required, and the parties have agreed that all Plaintiffs1, and

  Defendant representative(s) with authority to resolve the matters, will attend. The parties have

  considered private mediation and believe a settlement conference before Judge Leonard is

  preferable.

            As a result of the number of Plaintiffs who will be attending, some of whom will be

  traveling from other states, and will need to bank vacation time to attend, the parties request 60

  days to conduct the settlement conference (or additional time as may be dictated by Judge

  Leonard’s schedule).




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   While the parties’ intention is for every current Plaintiff (and any former Plaintiff who may be
  represented by Plaintiffs’ counsel on appeal) to attend, the parties agree to work together in good
  faith to the extent there may be scheduling or other unanticipated issues that prevent a small
  number of Plaintiffs from attending.
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          The parties believe proceeding with a settlement conference first, and then conferring

  with the Court to set the case for trial if necessary, would be most efficient. The parties have had

  preliminary discussions, are prepared to make a serious effort towards settlement, and believe it

  is most efficient to prepare for a settlement conference before setting a trial date, rather than

  while preparing for trial.

          Defendant has also filed its renewed Motion to Sever or in the Alternative to Bifurcate

  Plaintiffs’ Claims into Separate Trials, which it believes should be addressed prior to setting the

  case for trial(s).



          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on April 4, 2019, I will electronically file the foregoing using the

  CM/ECF system, which will send a notification of such filing (NEF) to all counsel of record.




                                              By: James H. Shoemaker, Jr.
                                                        James H. Shoemaker, Jr.




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